Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59




                         EXHIBIT 1
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
Case 1-19-01133-cec   Doc 10-1   Filed 11/07/19   Entered 11/07/19 18:40:59
